       Case 7:20-cv-04553-KMK-PED Document 28 Filed 10/21/20 Page 1 of 1

                            UNITED STATES DISTRICT COURT
                                           The Charles L. Brieant, Jr
                                 Federal Building and United States Courthouse
                                             300 Quarropas Street.
                                         White Plains, New York 10601
                                                 914 390 4250

     Chambers of
Hon. Paul E. Davison
United States Magistrate Judge                                               October 21, 2020



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                             ORDER
 IN RE: CIVIL CONFERENCES BEFORE
                                                                         7:20-cv-04553-PED
 U.S.M.J. PAUL E. DAVISON




       Beginning March 30, 2020, until further notice, all parties to civil conferences before
Judge Davison shall attend by phone, using the following information:

        Toll-Free Number: (877) 336-1839
        Access Code: 5999739

        The parties should call in from a landline and announce their names before speaking.

       For Settlement Conferences: Clients should NOT be on the conference call. Counsel
must have ready telephonic access to clients.



  USDC SDNY
  DOCUMENT
 USDC SDNY
  ELECTRONICALLY
 DOCUMENT           FILED
  DOC #
 ELECTRONICALLY    FILED
  DATE
 DOC # FILED: Oct 21, 2020 Oct
 21, 2020
                                                                    10/21/20
